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5
6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
                          IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
13   UNITED STATES OF AMERICA,              )   Case No. 2:11-CR-0198 MCE
                                            )
14                            Plaintiff,    )
                                            )   STIPULATION AND ORDER
15                vs.                       )   CONTINUING STATUS CONFERENCE
                                            )   AND EXCLUDING TIME
16   CRYSTAL RUSSO,                         )
                                            )
17                            Defendant.    )   Date: December 18, 2014
                                            )   Time: 9:00 a.m.
18                                          )   Judge: Hon. Morrison C. England
19
20         It is hereby stipulated and agreed between defendant, Crystal Russo, and
21   plaintiff, United States of America that the status conference scheduled for December
22   18, 2014, may be rescheduled for January 29, 2015, at 9:00 a.m. and time under the
23   Speedy Trial Act excluded as set forth below.
24         The defense has provided to the assigned Assistant U.S. attorney information
25   about discussions with prior counsel. Additional discovery promised by prior
26   government counsel has not yet been provided but the parties’ discussions may obviate
27   the need for additional discovery. The parties therefore agree that the ends of justice
28   served by this continuance outweigh the best interests of the public and the defendant

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1    in a speedy trial and ask that time under the Speedy Trial Act should be excluded
2    through January 29, 2015, pursuant to 18 U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and
3    (b)(IV).
4                                             Respectfully Submitted,
5                                             HEATHER E. WILLIAMS
                                              Federal Defender
6
7    Dated: December 15, 2014                 /s/ T. Zindel__________________
                                              TIMOTHY ZINDEL
8                                             Assistant Federal Defender
                                              Attorney for CRYSTAL RUSSO
9
10                                            BENJAMIN WAGNER
                                              United States Attorney
11
12   Dated: December 15, 2014                 /s/ T. Zindel for J. Hitt    ____
                                              JASON HITT
13                                            Assistant U.S. Attorney
14
15                                          ORDER
16          The status conference is continued to January 29, 2015, at 9:00 a.m. The court
17   finds that a continuance is necessary for the reasons stated above and that the ends of
18   justice served by granting a continuance outweigh the best interests of the public and
19   the defendant in a speedy trial. Time is therefore excluded from the date of this order
20   through January 29, 2015, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
21          IT IS SO ORDERED.
22   DATED: December 24, 2014
23
                                         _____________________________________________
24                                       MORRISON  N C. ENGLLAND, JR, C
                                                                      CHIEF JUDG  GE
                                         UNITED ST TATES DISSTRICT COU  URT
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